                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                          DOCKET NO. 3:09-cr-00032-FDW-DSC-3
 UNITED STATES OF AMERICA,                       )
                                                 )
                   Plaintiff,                    )
                                                 )
       vs.                                       )
                                                 )
 RONECA CHARNEE WHITE,                           )                      ORDER
                                                 )
                   Defendant,                    )
                                                 )
       and                                       )
                                                 )
 TEACHERS INSUR. & ANNUITY ASSN.                 )
 OF AMER.,                                       )
             Garnishee.                          )
                                                 )

       THIS MATTER is before the Court on Defendant’s “Response to Government’s Motion

for Continuing Writ of Garnishment” (Doc. No. 174), in which Defendant requests this Court

dismiss the Government’s request for a Writ of Continuing Garnishment and allow Defendant to

resume making $50 monthly restitution payments.

                                        BACKGROUND

       On November 3, 2011, a criminal judgment was entered against Defendant for conspiring

to commit bank fraud and aiding and abetting. (Doc. No. 112). Defendant was sentenced to five

years of probation, with the first eight months to be served on house arrest. The Court also ordered

restitution in the amount of $347,173.53, with monthly payments of $50 to commence

immediately. Defendant’s probation was terminated early on February 23, 2016, and following

release from probation, she failed to make timely restitution payments. The current total due and

owing is $316,919.95. (Doc. No. 159).
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       On September 14, 2016, the Government applied for a Writ of Continuing Garnishment

against Defendant, seeking to garnish Defendant’s wages by twenty-five percent (25%). (Doc.

No. 158). On September 15, 2016, the Court entered a Writ of Continuing Garnishment (Doc. No.

159), which was stayed pending “further Court determination” (Doc. No. 172). Defendant has

now filed a “Response” requesting that the Court dismiss the Government’s Motion and allow

Defendant to resume making $50 monthly payments. (Doc. No. 174). Defendant also requests a

hearing on this matter.

                                            ANALYSIS

       Defendant’s primary argument is that garnishing her wages by 25% would impose a

financial hardship on her. She notes that she fell behind in making her $50 payments due to funeral

and wedding expenses. She then sets forth her monthly income of $3,715.57 and necessary

expenses of $3,205.25, which leaves her with $510.32 in disposable income each month. Included

in Defendant’s monthly expenses are $220 for telephone service, $156 for cable, and $368 for a

car payment. Defendant contends that garnishing her wages by 25% will leave her with no

disposable income and the inability to meet her financial obligations. She also points out that she

is the least culpable of the three defendants in her case.

       Section 3613 of the Mandatory Victim Restitution Act of 1996 (“MVRA”) entitles the

Government to collect a restitution judgment from any assets currently owned by or held for the

benefit of a criminal debtor owing restitution. 18 U.S.C. § 3616. “The [MVRA] provides the

Government authority to enforce victim restitution orders in the same manner that it recovers fines

and by all other available means,” including collection methods under the Federal Debt Collection

Procedures Act (“FDCPA”). United States v. Ekong, 518 F.3d 285, 286 (5th Cir. 2007). The


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government specifically is permitted to enforce its judgments against all non-exempt property of

a defendant. 18 U.S.C. § 3613(a). Where a court determines that the procedural requirements of

the garnishment provisions are satisfied, the court “shall issue” the writ. 28 U.S.C. § 3205(c)

(emphasis added).

       Here, it appears the government has fulfilled its statutory obligations. Indeed, Defendant

has not filed a request for any exemptions, nor does she challenge the validity of the Writ of

Continuing Garnishment. Instead, she contends that assessing a writ of continuing garnishment of

25% is onerous and unwarranted.

       Though the Court retains discretion to set and modify minimum required periodic

payments related to restitution, Defendant has not demonstrated circumstances that would justify

dismissal of the Writ of Garnishment. The government has not acted improperly or abusively. In

fact, the Government has attempted to find an agreeable wage garnishment percentage or voluntary

payment schedule, but Defendant has been unwilling to enter into an alternative voluntary payment

agreement with the United States for more than $50 to $100 per month. Defendant’s claim of

financial hardship contradicts her admission that she is able to meet her reasonable living expenses,

has sufficient discretionary income to provide for nonessential items such as cable television, and

currently has $510.32 in disposable income each month. Moreover, whether Defendant was less

culpable than her two co-defendants is irrelevant given that she is jointly and severally liable for

the restitution amount. Accordingly, Defendant has not met her burden of showing that a

garnishment of 25% is unwarranted. See 18 U.S.C. 3664(e).

       In addition, Defendant requests a hearing to allow her to present evidence as to why the

Court should dismiss the Government’s request for a Writ of Garnishment and allow her to resume


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              paying $50 per month in restitution. However, the FDCPA limits the Court to considering specific

              issues at a hearing, including: (1) determining the validity of claimed exemptions; (2) compliance

              with statutory requirements for issuance of the post-judgment collection remedy requested; and

              (3) where judgment was entered by default, the validity of the debt and judgment. 28 U.S.C. §

              3202(d). Here, Defendant has raised no such objections; therefore, she is not entitled to a hearing.

              See United States v. Picklesimer, No. 3:00CR0008, 2010 WL 2572850, at *2 (W.D.N.C. June 24,

              2010).

                                                       CONCLUSION

                       IT IS, THEREFORE, ORDERED that Defendant’s request for a hearing (Doc. No. 174)

              is DENIED and her objections to the Government’s application for a Writ of Garnishment and

              Court’s entry of the Writ of Continuing Garnishment are OVERRULED.

                       IT IS FURTHER ORDERED THAT the Court’s Order staying the Writ of Continuing

              Garnishment (Doc. No. 172) is TERMINATED.

                       IT IS SO ORDERED.




Signed: February 16, 2017




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